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  EXHIBIT I
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 MANIKANTA PASULA, et al.,

                     Plaintiffs,

                         v.
                                                      Case No.
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al,

                    Defendants.


              DECLARATION OF THANUJ KUMAR GUMMADAVELLI

I, Thanuj Kumar Gummadavelli, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      My name is Thanuj Kumar Gummadavelli. I am over the age of 18 and am

competent to testify regarding the matters described below.

       2.      I am a citizen of India. I currently live in New Hampshire.

       3.      I first entered the United States on December 30, 2023 to begin my Master’s

Graduate studies at Rivier University.

       4.      In January 2024, I began my master’s program in Computer Science at Rivier

University in Nashua, NH.

       5.      In August 2024, I was pulled over by a police officer for speeding on the highway.

I was carrying a valid international driving permit issued by India, but I did not have a U.S. driver’s

license issued by New Hampshire on that day.

       6.      The police officer informed me that driving with an international license in Nashua

was permitted only for 60 days after entering the United States. I was unaware about it, I thought

that my international permit is valid for 1 year. Hence, I was handcuffed at the scene and informed

that a court case would be filed. I fully cooperated with the authorities.

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        7.     I later attended the scheduled court hearing, but made sure to obtain my U.S.

driver’s license. I presented my U.S. license at the court and paid the required fine.

        8.     In December 2024, I went to India for winter break and returned to the United States

in February 2025 without any issue.

        9.     On April 9, 2025, I received an email from Rivier University that my SEVIS record

was terminated. According to the email I received from the college, the SEVIS record indicated

the following: “OTHERWISE FAILING TO MAINTAIN STATUS – Individual identified in

criminal records check and/or has had their VISA revoked. SEVIS record has been terminated.”

        10.    On April 11, 2025, I received an email from the U.S. Embassy in India that my visa

was revoked.

        11.    However, other than the driver’s license issue, I did not break any rules and made

sure to maintain peace and harmony. I fully agree that I have only ONE speeding ticket and after

that I acquired my valid driver’s license and continued to be a healthy non-immigrant. I have not

committed any crime but one traffic violation. I have complied with all rules and regulations as an

F-1 student. I do not understand why my visa was revoked and my SEVIS record was terminated

for the only case.

        12.    I am scared about my safety and future due to the termination of my F-1 student

visa status. The uncertainty of my legal standing in the United States has caused immense stress

and emotional breakdown, as I have worked diligently to pursue my academic and professional

goal.

        13.    The termination puts my education and career trajectory at risk, and I fear not being

able to complete and obtain my Master’s degree. As a direct consequence of the termination of

my SEVIS record, I fear immigration detention and deportation as I may not have valid student



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status. I further fear that I would be detained in other parts of the country such as Louisiana after

being abruptly detained.

       14.     For my Master’s degree, both my advisor and the department expect me to complete

the coursework program by December 2025. The termination has created a difficult situation for

me that I may not be able to complete my studies.

       15.     I have maintained my student status through my F-1 student status including

attending full course of studies.

       16.     I have not engaged in any unauthorized employment in the United States.

       17.     I have been truthful to U.S. government officials.

       18.     I have not been convicted of any crime of violence in the United States.

       19.     I am not aware that the U.S. government put me in the federal register to terminate

my F-1 student status.

       20.     I want to be a named plaintiff in this case. I understand that, as a class

representative, it would be my responsibility to represent the interests of all the class members in

this lawsuit, and not just my own personal interests. I also understand the need to stay informed

about what is happening in the case.

       21.     I understand that I agree to represent many students and graduates like me.



I declare under the penalty of perjury that the foregoing is true and correct.




Thanuj Kumar Gummadavelli

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Executed on April 15, 2025.




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